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                                                                                   Claims paid by CY



Claim Type (Fwd & HECM)

Total Claim Amount Paid   Original Claim Type
CY                               2007                2008                2009               2010              2011              2012              2013              2014             2015             2016          2017       Grand Total
03335                         $31,631,585.06       $38,845,182.47      $28,658,122.07    $23,073,753.35     $9,649,276.46     $4,841,831.87     $3,953,736.51    $3,890,397.71     $937,307.53       $25,909.27                   $145,507,102.30
04718                         $32,283,246.88     $122,004,439.64     $133,544,702.32     $65,890,974.34    $19,296,596.99    $19,488,407.01    $25,399,752.01   $16,423,090.88   $10,726,118.48   $2,870,590.09                   $447,927,918.64
12489                          $6,009,656.21       $12,936,385.56       $9,074,992.35     $1,772,699.35      $835,418.71       $811,355.72       $327,812.34      $185,779.03                                                       $31,954,099.27
12617                         $30,242,755.91     $183,712,992.52     $188,107,796.08     $67,533,713.23    $22,973,148.13    $24,356,119.66    $11,596,498.67    $6,150,990.88    $6,227,703.08    $813,761.12                    $541,715,479.28
13065                       $462,150,276.73      $697,252,957.75    $1,458,739,545.74 $950,361,639.25     $174,381,531.59    $55,856,705.31    $33,044,012.90    $5,056,906.19    $1,434,578.67                                  $3,838,278,154.13
13920                         $27,896,815.41     $249,941,718.11     $159,172,762.06     $67,129,101.50    $14,731,871.70     $7,585,657.31     $7,615,322.63    $4,686,666.77    $1,116,316.21    $631,886.98                    $540,508,118.68
16001                       $191,094,459.48      $465,182,076.79     $384,974,148.52 $179,920,095.69       $52,813,299.45    $25,984,435.10    $14,042,522.37    $2,326,493.74    $1,026,304.46    $142,609.77                   $1,317,506,445.37
17688                          $6,020,086.80       $67,279,553.42      $50,437,422.88    $29,495,034.56    $11,833,218.63     $5,200,327.65     $3,881,252.33     $579,632.73      $804,355.69                                    $175,530,884.69
21490                       $179,279,582.16      $305,084,130.31       $63,423,862.52    $37,545,717.27    $12,654,307.32    $11,700,952.03     $8,155,235.97    $3,969,301.91    $2,612,021.57      $83,105.57                   $624,508,216.63
22995                     $1,140,801,483.83     $2,504,790,994.56   $1,373,400,776.24 $1,030,506,762.77   $395,903,623.93   $238,370,023.12   $128,872,971.35   $18,662,150.20    $7,391,237.62    $556,825.99                   $6,839,256,849.61
23177                         $14,286,984.14       $54,727,727.75      $56,368,268.69    $35,646,274.15     $9,076,847.26     $6,136,154.96     $4,689,974.12     $829,435.97      $249,867.68       $66,374.89                   $182,077,909.61
24751                                                                                      $138,595.01                        $4,058,790.11     $4,903,421.63   $11,771,608.14    $6,619,481.54   $1,524,665.78   $29,292.26        $29,045,854.47
30141                       $205,526,302.15      $985,952,416.56     $255,119,153.37     $73,057,300.17    $33,334,310.80    $18,871,253.99    $32,613,602.03    $7,905,981.61     $225,730.12                                   $1,612,606,050.80
35029                        $29,375,522.36       $57,756,570.63       $70,451,808.17    $37,935,384.72    $14,802,602.55     $9,426,242.62     $6,520,888.84    $3,001,799.38     $357,799.19                                    $229,628,618.46
49001                        $38,458,886.81      $113,420,668.25       $79,020,953.86    $43,628,692.22    $16,703,274.50    $11,009,929.53     $6,772,761.41    $1,962,150.11     $508,378.13      $33,574.04    $36,346.49      $311,555,615.35
54179                       $334,855,901.00      $895,679,818.22     $318,472,359.89     $81,914,258.46    $22,717,713.27     $9,485,488.19     $5,281,353.45    $1,887,584.68     $578,854.06     $190,635.16                   $1,671,063,966.38
71075                        $26,718,722.08       $57,270,148.29       $67,616,121.51    $26,871,091.06     $8,301,468.52     $4,930,502.72     $1,726,276.25     $351,223.06      $471,411.83                                    $194,256,965.32
71159                        $39,341,592.18      $183,599,566.07     $434,421,011.36 $139,793,186.35       $42,596,918.35    $35,425,555.68    $25,440,730.16    $3,996,902.64    $1,525,661.45    $246,045.12 $10,988.70         $906,398,158.06
71247                        $43,061,171.54       $70,619,727.89       $43,588,627.45    $14,621,936.90     $4,588,835.38     $3,765,036.66     $6,258,458.73    $1,252,066.97     $535,148.06     $342,432.69                    $188,633,442.27
71845                       $161,001,483.71      $366,310,716.31     $384,809,871.57     $72,385,299.18    $22,285,105.58    $23,956,615.29    $11,462,307.34     $904,122.78      $507,123.05       $83,219.93                  $1,043,705,864.74
71970                        $11,675,729.63      $279,306,895.02     $492,062,567.17 $223,282,767.09      $109,387,418.65   $110,503,628.47    $81,423,203.47   $32,083,848.37   $23,060,133.42   $3,661,613.42 $148,828.18      $1,366,596,632.89
73663                        $36,467,883.97      $144,168,317.53     $153,177,532.16     $81,867,853.80    $31,088,288.22    $21,661,489.64    $12,854,461.55    $7,204,662.84    $3,615,251.60    $575,898.15                    $492,681,639.46
75159                       $209,513,295.01      $649,635,865.15     $661,558,249.18 $107,060,022.31       $45,180,606.11    $77,098,981.26    $86,863,327.07    $9,532,475.55    $9,152,846.18   $3,425,040.10                  $1,859,020,707.92
75864                        $85,444,793.37      $146,398,718.77       $95,086,855.00    $44,878,656.37    $16,466,879.04     $7,511,124.11     $8,295,704.65    $3,366,162.08     $857,803.28     $140,462.70                    $408,447,159.37
76355                       $120,504,667.21      $274,096,528.53     $144,113,781.86     $45,580,193.77     $6,846,960.22     $7,895,218.77     $4,601,009.14    $4,287,194.82    $1,195,309.95    $433,421.31                    $609,554,285.58
76552                                                                                      $456,485.57       $231,644.65       $326,340.53       $497,681.97      $108,161.89                                                        $1,620,314.61
77848                       $221,155,573.01      $506,086,028.94     $397,126,216.48 $153,422,403.92       $28,403,477.24    $30,532,548.77     $9,771,808.72    $2,301,487.37    $1,569,134.91    $371,009.59                   $1,350,739,688.95
72575                        $19,136,976.85       $48,493,264.85     $109,021,951.37     $52,319,635.59    $14,161,128.57     $9,855,354.65    $10,157,564.97    $7,344,518.59    $3,987,924.11   $1,059,086.68   $35,535.50      $275,572,941.73
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                                                                         Partial Claims paid by CY



Underwriting Lender ID       2007            2008            2009            2010            2011            2012             2013             2014             2015            2016          2017        Grand Total
03335                      $739,443.13    $1,580,478.51   $2,222,521.99   $2,952,888.14   $2,205,761.03   $2,036,700.18    $2,174,624.31    $1,810,760.69    $1,066,106.02    $217,073.78                    $17,006,357.78
04718                      $823,312.33    $5,910,860.14 $12,551,443.10 $12,857,668.25     $8,932,873.52 $10,288,243.67    $10,992,230.39    $8,698,786.57    $8,438,347.05   $1,956,562.14   $11,076.34      $81,461,403.50
12489                      $307,999.82     $249,960.04     $588,298.80     $298,350.53       $69,400.22      $40,323.87       $24,898.23       $77,816.14       $54,952.42                                    $1,712,000.07
12617                     $1,353,989.09   $9,919,100.20 $18,527,063.71 $15,349,252.80 $11,588,296.31 $14,481,729.73        $9,604,581.63    $6,688,012.83    $6,817,402.60   $2,232,370.20                   $96,561,799.10
13065                    $20,659,416.29 $56,868,833.38 $231,363,444.60 $201,739,009.15 $51,338,424.28 $18,616,390.30       $9,925,109.67    $2,535,454.49     $969,073.65       $11,159.90                  $594,026,315.71
13920                     $1,674,071.69 $19,467,062.27 $30,772,361.34 $21,507,568.80 $10,393,231.49       $9,228,643.68    $7,865,978.07    $6,086,866.95    $5,257,439.98    $846,452.23                   $113,099,676.50
16001                     $5,994,133.42 $22,538,592.91 $39,588,943.77 $28,420,163.06 $10,863,428.16       $7,048,406.62    $3,257,971.61    $1,038,124.76     $602,092.62       $81,896.27                  $119,433,753.20
17688                      $444,222.39    $8,482,237.96   $9,767,248.96 $11,145,103.50    $5,338,044.02   $4,353,442.60    $3,540,747.57    $1,122,051.93    $1,029,958.61    $343,529.99                    $45,566,587.53
21490                     $5,508,844.06 $19,017,142.40 $11,477,012.88 $12,198,203.53      $9,971,460.73   $7,821,807.55    $7,980,592.92    $5,498,593.68    $5,231,522.32   $1,378,886.31                   $86,084,066.38
22995                    $41,918,009.35 $140,295,280.37 $154,263,962.75 $209,853,019.22 $159,652,521.76 $113,791,687.16   $58,490,125.58   $12,659,795.98   $13,078,483.90   $1,422,136.45 $48,743.44       $905,473,765.96
23177                      $580,645.86    $2,668,967.95   $6,808,203.78   $6,432,013.31   $5,135,751.50   $5,077,097.81    $2,529,055.81    $1,676,133.78     $892,286.53     $104,696.10                    $31,904,852.43
24751                                                        $44,819.53    $117,832.76       $64,763.27   $2,246,379.89    $8,149,075.19   $10,392,406.82    $5,432,032.40   $1,944,708.23 $227,238.80       $28,619,256.89
30141                     $9,943,024.66 $65,187,938.27 $28,858,651.48 $16,390,587.03      $9,832,185.97   $9,925,239.28   $10,843,365.97    $3,651,830.89     $300,431.02     $200,355.88                   $155,133,610.45
35029                     $1,360,214.36   $3,970,081.71   $9,308,493.84   $7,347,040.35   $4,853,608.49   $5,060,762.93    $3,039,208.61    $2,757,314.96    $1,174,644.38      $38,275.41                   $38,909,645.04
49001                     $1,515,861.95   $5,082,830.90   $6,562,540.27   $8,485,590.29   $6,145,443.17   $5,355,758.02    $4,659,521.88    $2,107,718.89    $1,369,669.14    $340,344.89                    $41,625,279.40
54179                     $9,255,866.73 $37,100,338.61 $20,247,384.63     $8,571,156.81   $4,431,828.35   $2,419,909.23    $1,474,699.06     $834,932.08      $481,293.39       $33,688.86                   $84,851,097.75
71075                      $904,683.67    $2,404,939.88   $5,576,844.70   $4,387,394.11   $2,389,855.64   $2,711,690.17    $1,797,843.69     $903,864.18      $868,450.33     $225,376.30                    $22,170,942.67
71159                     $1,725,665.31   $9,865,936.81 $47,038,465.67 $23,950,458.13 $11,241,483.69 $12,311,059.32        $8,597,257.86    $2,687,676.51     $520,422.85     $164,421.60                   $118,102,847.75
71274                     $6,597,641.51 $38,270,137.44 $53,341,531.98 $25,254,929.43 $18,303,954.95 $14,215,595.24         $6,698,005.51   $10,882,208.90   $11,222,926.04   $1,473,020.94                  $186,259,951.94
71845                     $3,786,026.62 $14,377,621.12 $27,659,797.13     $7,791,341.99   $3,466,909.72   $6,664,912.05    $4,073,511.95    $1,283,685.87     $362,961.42       $45,460.16                   $69,512,228.03
71970                      $488,468.18 $14,551,532.38 $45,302,356.09 $25,885,400.10 $12,465,998.76 $13,789,928.48          $9,513,635.25    $7,813,723.30   $13,173,167.19   $3,333,189.96                  $146,317,399.69
73663                     $1,500,212.45   $8,578,677.80 $15,899,471.11 $20,907,492.77 $15,934,998.60 $14,861,093.40        $9,280,333.79    $6,770,853.79    $4,103,634.19    $558,162.25                    $98,394,930.15
75159                     $6,638,159.11 $32,815,206.55 $70,784,677.97 $20,006,926.68      $7,765,948.50 $16,103,422.08    $19,438,852.86    $3,511,500.06    $8,858,327.18   $6,346,187.95 $52,879.31       $192,322,088.25
75864                     $2,551,533.35   $7,707,450.75   $9,520,775.10   $7,334,528.46   $3,248,776.27   $3,475,145.49    $3,483,134.65    $1,322,833.55     $841,039.15     $124,993.52                    $39,610,210.29
76355                     $4,408,375.93 $15,672,798.34 $14,708,895.18     $8,376,311.56   $3,142,095.11   $5,412,554.87    $4,031,006.76    $3,366,227.35    $2,736,169.45    $809,466.79                    $62,663,901.34
76552                                                                        $58,069.86                    $130,729.89        $34,051.53     $229,094.73        $53,372.13                                      $505,318.14
77848                     $8,408,063.16 $25,912,072.80 $39,660,990.27 $22,702,977.66      $7,793,279.95   $7,594,299.04    $5,484,441.17    $1,616,445.55     $780,409.26       $38,180.18                  $119,991,159.04
72575                      $511,284.64    $1,725,109.34 $10,173,592.91 $13,120,157.31     $9,237,377.24 $10,801,470.37     $9,898,996.09    $7,149,594.88    $6,626,021.24   $1,318,644.05                   $70,562,248.07
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                                              Lenders

                                   Lender                       Lender ID    HUD Request Submitted
ACADAMY MORTGAGE CORP                                          72575        18-FI-HQ-00463
IBERIABANK MORTGAGE COMPANY                                    03335        18-FI-HQ-00521
GUILD MORTGAGE                                                 04718        18-FI-HQ-00471
BANK OF THE WEST                                               12489        18-FI-HQ-00467
PRIMARY RESIDENTIAL MORTGAGE INC                               12617        18-FI-HQ-00475
BANK OF AMERICA NA CHARLOTTE                                   13065        18-FI-HQ-00523
PROSPECT MORTGAGE LLC - Has Been Partially Sued                13920        18-FI-HQ-00479
U.S. Bank National Association                                 16001        18-FI-HQ-00631
RESIDENTIAL HOME FUNDING CORPORATION                           17688        18-FI-HQ-00603
UNIVERSAL AMERICAN MORTGAGE CO LLC (Eagle Home Mortgage LLC)   21490        18-FI-HQ-00481
WELLS FARGO BANK NA                                            22995        18-FI-HQ-00476
PHH HOME LOANS LLC                                             23177        18-FI-HQ-00585
CARRINGTON MORTGAGE SERVICES LLC                               24751        18-FI-HQ-00527
JPMorgan Chase Bank NA                                         30141        18-FI-HQ-00633
BRANCH BANKING AND TRUST CO                                    35029        18-FI-HQ-00556
REGIONS BANK                                                   49001        18-FI-HQ-00539
Suntrust Mortgage Inc                                          54179        18-FI-HQ-00632
CHERRY CREEK MORTGAGE CORP INC                                 71075        18-FI-HQ-00464
FIFTH THIRD MORTGAGE COMPANY                                   71159        18-FI-HQ-00558
Flagstar Bank, FSB                                             71274        18-FI-HQ-00634
United Shore Financial Lending Services                        71845        18-FI-HQ-00635
QUICKEN LOANS INC                                              71970        18-FI-HQ-00470
PRIMELENDING A PLAINSCAPITAL COMPANY                           73663        18-FI-HQ-00586
FREEDOM MORTGAGE CORPORATION                                   75159        18-FI-HQ-00490
M AND T BANK                                                   75864        18-FI-HQ-00584
SECURITYNATIONAL MORTGAGE COMPANY                              76355        18-FI-HQ-00487
First American Mortgage Inc                                    76552        18-FI-HQ-00629
Franklin American Mortgage Corporation                         77848        18-FI-HQ-00630
